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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )           CRIM. NO. 08-00739 (02) SOM
                               )
           Plaintiff,          )
                               )
      vs.                      )           ORDER DENYING PETITION UNDER
                               )           28 U.S.C. § 2255; ORDER
 JOHN GOUVEIA, JR. (02),       )           DENYING REQUEST FOR DNA
                               )           TESTING OF EVIDENCE
           Defendant.          )
 _____________________________ )

            ORDER DENYING PETITION UNDER 28 U.S.C. § 2255;
          ORDER DENYING REQUEST FOR DNA TESTING OF EVIDENCE

 I.         INTRODUCTION.

            On August 18, 2010, a jury convicted Defendant John

 Gouveia, Jr., of three drug crimes.        See Verdict Form, Aug. 18,

 2010, ECF No. 174.      Gouveia’s crimes included: 1) conspiring to

 distribute and possess with intent to distribute more than 500

 grams of a mixture or substance containing a detectable amount of

 methamphetamine, its salts, isomers, and salts of its isomers;

 and 2) two counts of possession with intent to distribute the

 same.   Id.

            On February 4, 2011, the court sentenced Gouveia to 292

 months of imprisonment as to each count, with all terms to run

 concurrently.    See Judgment, ECF No. 231.        The court also

 sentenced him to 10 years of supervised release for each of the

 counts, with all terms to run concurrently, as well as a $300

 special assessment.      Id.
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            On February 9, 2011, Gouveia appealed.                 See ECF No.

 232.   The Ninth Circuit affirmed the judgment in a Memorandum

 Decision filed on February 23, 2012.             See ECF No. 484-1.       The

 Mandate issued on March 16, 2012.            See ECF No. 415.        Gouveia

 petitioned for certiorari, but that was denied by the Supreme

 Court on October 1, 2012.      See 133 S. Ct. 188 (Oct. 1, 2012).

            Before the court is Gouveia’s Motion Under 28 U.S.C.

 § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

 Federal Custody, timely filed on September 23, 2013.                  See ECF No.

 471.   The court denies this motion and declines to issue a

 certificate of appealability.

            The court also denies Gouveia’s request for DNA testing

 of evidence.

 II.        BACKGROUND FACTS.

            A.    Evidence at Trial.

            In July 2006, DEA Special Agent Richard Jones received

 a phone call from the Riverside County Sheriffs Department in

 California, informing Jones that there were drugs in a car being

 shipped to Hawaii from California.            See Testimony of Richard

 Jones at 2-33, Aug. 4, 2010, ECF No. 504-2, PageID # 6808.                  Jones

 says he went to Matson to see whether a car matching the

 description he got was indeed being shipped.                Id.

            Vernon Ramie, a Matson employee, testified that, based

 on Exhibit 107, which was received in evidence, a 1992 Mercury


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 Grand Marquis was shipped by Howard Peterson.                This car was gold

 and had license plate 3VGA124.         See Testimony of Vernon Ramie at

 2-172 to 2-173, Aug. 4, 2010, ECF No. 504-2, PageID #s 6947-48.

 Special Agent Jones testified that this matched the description

 of the car given to him by the Riverside County Sheriffs

 Department.    See Jones Test. at 2-33 to 2-34, PageID #s 6908-09.

 Based on Exhibit 108, which was received in evidence, Ramie

 testified that Matthew Hernandez was authorized to pick up the

 car when it reached Hawaii.      See Ramie Test. at 2-174, PageID

 # 6949.

             A search warrant was obtained for the vehicle.                See

 Jones Test. at 2-36, PageID # 6811; see also ECF No. 484-3 (copy

 of Search Warrant for 1992 Mercury Grant Marquis with license

 plate number 3VGA124).      Pursuant to the search warrant, Jones and

 other agents searched the car.         They found drugs in its

 driveshaft.    See Jones Test. at 2-36 to 2-41, PageID #s 6811 to

 6816.    The drugs were sent to the DEA Southwest Laboratory in

 Vista, California, which identified the drugs as methamphetamine

 hydrochloride with a purity of 50% and a net weight of 6,210

 grams.    Id. at 2-42, PageID # 6817.

             Agents replaced the driveshaft and dusted it with

 Sirchie Powder in preparation for a controlled delivery of the

 car.    Id. at 2-48, PageID # 6823.          DEA Special Agent Clement Sze

 testified that the Sirchie Powder did not adhere to the


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 driveshaft.    Testimony of Clement Sze at 4-84, Aug. 6, 2010, ECF

 No. 505-1, PageID # 7229.        Agents ultimately took the car back to

 Matson.    Jones Test. at 2-51, PageID # 6826.

             Agents then went to the Honolulu International Airport

 to check on whether there was a Matthew Hernandez arriving on an

 incoming flight.        They determined that he and Jose Perez were on

 a United Airlines flight arriving on the evening of July 26,

 2006.    The agents located Matthew Hernandez and Jose Perez at the

 airport, then followed them to the Ohana West Hotel.                   Jones Test.

 at 2-52 to 2-53, PageID #s 6827-28.

             Around 10:00 the next morning, someone picked up the

 Mercury Grand Marquis from Matson and drove it to the Ohana West

 Hotel.    See id. at 2-54 to 2-55, PageID #s 6829-30.                 It was later

 driven to Sand Island Access Road and parked in a parking lot.

 Agents did not see the car driven there, but they located it

 using a GPS device that had been placed in it.                  Agents did see a

 white Dodge Durango driven by Gouveia pull up to the Mercury

 Grand Marquis; agents also saw Jose Perez get out of the Durango

 and get into the Mercury Grand Marquis.                The two cars were then

 driven away, with the Mercury Grand Marquis following the

 Durango.    Agents followed the cars until they were parked on the

 top level of the Pearlridge Shopping Center.                  Id. at 2-56 to 2-

 57, PageID #s 6831-32.        Sergeant Akana testified that the Durango

 was parked normally, but that the Mercury Grand Marquis was in a


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 raised position, with its back tires on the cement block designed

 as a backstop for parked cars.         See Testimony of Burt Akana at 1-

 10, Aug. 3, 2010, ECF No. 504-1, PageID # 1-10; Cross-Examination

 of Burt Akana at 2-15, Aug. 4, 2010, ECF No. 504-2, PageID #

 6790.

            After seeing both Perez and Gouveia under the Mercury

 Grand Marquis, the agents closed in and arrested them.                   At the

 time of the arrest, Perez was standing or kneeling next to the

 car, and Gouveia was underneath it.            Jones told Gouveia, “Come

 out from underneath the vehicle.”            Jones Test. at 2-62, PageID

 # 6837.    Gouveia emerged from underneath the car holding a

 Craftsman socket wrench.      Jones says that, when he looked under

 the car, he could see three bolts from the rear differential that

 had been removed and placed on the ground.                  Id. at 2-63 to 2-64,

 PageIDs # 6838-39.

            Agents searched both vehicles and found a Craftsman

 tool set in the Durango.      Id. at 2-65, PageID # 6840.               The tool

 set was missing a socket like the one Gouveia had been holding.

 Id. at 2-67, PageID # 6842.

            Sergeant Burt Akana of the State of Hawaii Sheriff’s

 Department testified that he assisted in the search of the

 Durango.   He testified that he found in the car a pipe cutter and

 a receipt for the pipe cutter, which were received in evidence as

 Exhibits 104 (pipe cutter) and 105 (receipt for pipe cutter).


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 See Testimony of Burt Akana at 1-12 to 1-13, Aug. 3, 2010, ECF

 No. 504-1, PageID #s 6763-64; Government’s Exhibit List, ECF No.

 177, PageID # 925.

             Advised of their Miranda rights, Perez and Gouveia

 waived those rights and made statements to the agents.                   See Jones

 Test. at 2-71 to 2-72, PageID #s 6846-47.               Gouveia told Jones

 that Gouveia was helping a friend, “Jose,” fix his car.                   Id. at

 2-73, PageID # 6848.      He said he knew “Jose” through his brother,

 Franky.    Gouveia told Jones that he met with Perez that day at

 the Pearlridge Shopping Center.         Id.       Jones then told Gouveia

 that Jones had seen him at the parking lot on Sand Island Access

 Road and asked why they had not tried to fix the car there.                     Id.

 at 2-74, PageID # 6849.      Jones testified that Gouveia looked as

 if he did not understand what was going on.                  Id.   Jones then

 confronted Gouveia about purchasing the pipe cutter to remove the

 drugs in the driveshaft.      Id.      Gouveia questioned why, if he knew

 there were drugs in the driveshaft, he would have removed the

 driveshaft in such a public place.             Id.

             Later on July 27, 2006, Jones had Perez call Perez’s

 half-brother, Ramiro Hernandez.         The calls were recorded.             At

 trial, Jones identified Perez’s voice in the recording, which

 Jones said he recognized from having been in the room at the time

 of the conversations.      See Jones Test. at 2-75 to 2-80, PageId #s

 6850-55.    Jones testified that he instructed Perez to call Ramiro


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 Hernandez and “advise him that he had given the drugs to

 Gouveia.”    Id. at 2-78, PageID # 6853.           Jones told Perez to leave

 it at that and to let the conversation proceed so that Perez

 could receive further instructions.            Id.    Perez was to call the

 methamphetamine “stuff” and the driveshaft “pipes.”                   Id.

 Recordings of these conversations were played to the jury during

 Special Agent Sze’s testimony over Gouveia’s objection that they

 violated his right to confront witnesses against him.                   See Sze

 Test. at 4-107, ECF No. 505-1, PageID # 7252.

             The jury reviewed transcripts of these calls, which

 Gouveia submits as part of his motion.             See ECF No. 472-6.         As

 noted in the transcripts, which were not received in evidence, in

 the taped conversations Perez told Ramiro Hernandez that the

 “pipes” were taken off and given to “him.”                  Perez said he told

 “him” that Ramiro Hernandez wanted twenty-five, and was told by

 “him” that “he” wanted to do twenty.             Gouveia’s name was not

 specifically mentioned.

             There appears to be no dispute that, in a separate case

 discussed later in this order, Perez pled guilty to related

 crimes and, pursuant to a plea agreement, agreed to testify

 against Gouveia and Matthew Hernandez.             Perez later refused to

 testify in that case, causing the Government to dismiss the

 indictment in that case with respect to Gouveia and Matthew

 Hernandez.


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            Michael Savaiineea, operations manager for Hawaii

 Pacific Plumbing, which is located about two blocks from the

 parking lot on Sand Island Access Road, testified about the sales

 receipt found in the Durango (Exhibit 105).                 He testified that it

 was the customer’s copy of a Hawaii Pacific Plumbing invoice

 dated July 27, 2006.      See Testimony of Michael Savaiineea at 3-74

 to 3-76, ECF No. 504-3, PageID # 7036-38.              Savaiinea said that he

 himself had prepared that invoice.            He further testified that the

 customer for that transaction had given him the name “John” and

 the phone number “217-6566.”      Id. at 3-77, PageID # 7039.               The

 court takes judicial notice that, when calling a number on Oahu

 from another number on Oahu, one need not dial the 808 area code.

            Sergeant Akana found three phones in the Durango that

 Gouveia had been driving.      These phones were received in evidence

 as Exhibits 300, 301, and 302.         See Akana Test. at 1-15, ECF No.

 504-1, PageID # 6766.      Exhibit 300 was a cellular telephone with

 number (808) 217-6566.      See Testimony of DEA Special Agent

 Clement Sze at 4-99, Aug. 6, 2010, ECF No. 505-1, PageID #4-99;

 ECF No. 177, PageID # 926.      Exhibit 301 was a cellular telephone

 with number (808) 699-6917.      Exhibit 302 was a cellular telephone

 with number (808) 936-9363.      Id. at 4-100 to 4-101, PageID

 #s 7245-46.

            Joanne Kealiinohomoku, an associate retail manager with

 AT&T Mobility, testified that AT&T does not require any picture


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 identification for the purchase of a prepaid phone.                 Testimony of

 Joanne Kealiinohomoku at 4-70, Aug. 6, 2010, ECF No. 505-1,

 PageID # 7215.    She testified that, based on AT&T’s records,

 (808) 217-6566 was a prepaid phone in the name of “John Kay” and

 (808) 936-9363 was a prepaid phone in the name of “John

 Singleton.”    Id. at 4-71 to 4-72, PageID #s 7216-17.

            The invoice found in the Durango that Gouveia was

 driving indicated that it was for “a quick-release tubing cutter

 that the plumbers use to cut through pipes” and “a tubing cutting

 wheel.”   Id. at 3-77, PageID # 7039.            Savaiineea testified that

 the cutting wheel that comes with the tubing cutter is meant to

 only cut PVC pipe, whereas the “tubing cutting wheel” that was

 purchased is “mainly used to cut through iron or copper.”                  Id. at

 3-78, PageID # 7040.      Savaiineea examined the pipe cutter,

 Exhibit 104, and testified that the “tubing cutting wheel”

 attached to it was the separately purchased wheel for cutting

 metal, rather than the original wheel for cutting plastic.                  Id.

 He testified that the pipe cutter was designed to cut pipe from 1

 inch to 4 inches in inside diameter.             Id. at 3-79, PageID # 7041.

 Special Agent Jones testified that the Mercury Grand Marquis’s

 driveshaft was “about three-and-a-half inches” in diameter.                  See

 Jones Test. at 2-40, ECF No. 504-2, PageID # 6815.

            Agents found two cell phones on Perez.               The phones,

 received in evidence as Exhibits 201 and 202, had numbers (760)


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 601-2940 and (808) 345-9261.       See Jones Test. at 2-70, PageID #

 6845; Sze Test. at 5-26, PageID # 7293.           Kealiinohoku, of AT&T,

 testified that (808) 345-9261 was a prepaid cellular phone in the

 name of Jose Perez.      Kealiinohoku Test. at 4-70, ECF No. 505-1,

 PageID # 7215.     Jeff Strohm, custodian or records for Sprint

 Nextel Telecommunications, testified that (760) 601-2940 was a

 prepaid account in the name of “CV Wireless,” in Coachella,

 California.    Testimony of Jeff Strohm at 5-19 to 5-20, and 5-24,

 Aug. 10, 2010, ECF No. 505-2, PageID # 7286-87 and 7291.

             Vernon Ramie, of Matson, testified about another

 Mercury Grand Marquis that Howard Peterson had shipped from Los

 Angeles to Hilo, Hawaii, which had arrived on March 15, 2006.

 See Testimony of Vernon Ramie at 3-59 and 3-63, ECF No. 504-3,

 PageID #s 7021 and 7025.       That vehicle had license plate number

 5KIW323.    Id. at 3-60, PageID # 7022.         The person to whom the

 vehicle was being shipped was Jose Galindo.              Id. at 3-65, PageID

 # 7027.    Matson’s records showed that Matson was to call (706)

 923-7721 when the vehicle was ready to be picked up.              Id. at 3-

 60, PageID # 7022.      Special Agent Sze testified that, when he

 examined the cellular telephone with the number (808) 345-9261,

 found on Perez when Perez was arrested, the phone reflected 17

 calls between that phone and (706) 423-7721 from March 8 to March

 26, 2006.    The latter number was just one digit off the number

 that had been given to Matson to contact, with a “4” rather than


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 a “9.”    Testimony of Clement Sze at 5-43, Aug. 10, 2010, ECF No.

 505-2, PageID # 7310.

             Sze testified that, based on Matson’s records, he

 identified another phone number as belonging to Galindo, (760)

 396-2647.    Sze determined that, on March 17, 2006, there was one

 call from (808) 345-9261, one of the phones recovered from Perez,

 to (760) 396-2647.

             DEA Special Agent Jesse Fourmy testified that he

 located a Mercury Grand Marquis that had been shipped to Hilo at

 Powers Storage, in Hilo.       Testimony of Jesse Fourmy at 3-106,

 Aug. 5, 2010, ECF No. 504-3, PageID # 7068.              That car had the

 same license plate number as the car shipped by Matson, 5KIW323,

 id. at 3-111, PageID # 7073, and was missing its driveshaft.                Id.

 at 3-112, PageID # 7074.       Malia Farias, the manager at Power

 Storage in Hilo, rented a storage unit to Jose Perez, copying his

 California identification and getting his phone number, 345-9261,

 in the process.     See Testimony of Malia Farias at 4-56 to 4-58,

 Aug. 6, 2010, ECF No. 505-1, PageID #s 7201-03.              Farias

 remembered that a blue Grand Marquis was towed into the storage

 unit, indicating to her that it was not running.              Id. at 4-60,

 PageID # 7205.

             A receipt for a 14-Karat two-tone chain from Zales in

 Hilo, dated March 31, 2006, listed Jose D. Perez as the customer.

 See Testimony of Norma Barroga at 3-94, Aug. 5, 2010, ECF No.


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 504-3, PageID # 7056-57.       There was a separate sales receipt for

 a 14-karat two-tone crucifix.          Id. at 3-96, PageID # 7058.        At

 the time Perez was arrested, he was wearing a gold chain and

 crucifix.    See Sze Test. at 4-86 to 4-87, ECF No. 505-1, PageID

 #s 7233-34.

             At trial, a stipulation was read to the jury stating

 that John Gouveia, Jr., “lived and was present in Hilo, Hawaii,

 throughout the month of March 2006” and “lived and was present in

 Honolulu, Hawaii, throughout the month of July 2006.”               See Trial

 Transcript at 5-97 to 5-98, Aug. 10, 2010, ECF No. 505-2, PageID

 #s 7364-65.

             B.    Procedural History.

             Jose Perez, John Gouveia, Jr., and Matthew Perez were

 charged in a Second Superseding Indictment of October 18, 2006,

 with drug crimes arising out of the two shipments of Mercury

 Grand Marquis cars discussed above.          See Second Superseding

 Indictment, Cr. No. 06-00420 DAE, ECF No. 58.             Perez entered into

 a plea agreement, see Memorandum of Plea Agreement, Cr. No. 06-

 00420 DAE, ECF No. 68, in which he admitted the following:

             a.   Sometime in February, 2006, an
             automobile containing approximately fourteen
             (14) pounds of methamphetamine which was
             secreted in the engine driveshaft of the
             automobile was shipped from California to
             Hawaii.

             b.   Sometime in February, 2006, defendant
             JOSE PEREZ and another person traveled from
             California to Hawaii.

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             c.   On or about March 15, 2006, defendant
             JOSE PEREZ and another person took possession
             of the automobile which contained the
             fourteen (14) pounds of methamphetamine.

             d.   Shortly thereafter, defendant JOSE PEREZ
             and another person removed the engine drive
             shaft [sic] from the automobile and retrieved
             fourteen (14) pounds of methamphetamine from
             the automobile.

             e.   Defendant JOSE PEREZ and another person
             then delivered the fourteen (14) pounds of
             methamphetamine to co-defendant JOHN GOUVEIA,
             JR.

             f.   Sometime in July of 2006, an automobile
             containing approximately fourteen pounds of
             crystal methamphetamine was shipped from
             California to Hawaii via Matson Navigation
             Company, Inc.

             g.   On July 26, 2006, defendant and co-
             defendant MATTHEW HERNANDEZ flew from
             California to Hawaii.

             h.   On July 27, 2006, defendant and co-
             defendant MATTHEW HERNANDEZ took possession
             of the automobile which had contained the
             fourteen pounds of crystal methamphetamine
             from Matson Navigation Company, Inc.

             i.   On July 27, 2006, defendant and co-
             defendant JOHN GOUVEIA, JR., attempted to
             extract the fourteen pounds of crystal
             methamphetamine from the driveshaft of the
             automobile.

             j.    A laboratory analysis established that
             6.210 kilograms of 50% pure d-
             methamphetamine, its salts, isomers and salts
             of its isomers were hidden in the driveshaft
             of the automobile which arrived in July of
             2006.




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 See Memorandum of Plea Agreement, Cr. No. 06-00420 DAE, ECF No.

 68, PageID #s 141-42.

             In the plea agreement, Perez agreed to cooperate with

 the Government and to testify at trial against his co-Defendants.

 See id. at PageID #s 148-49.       There is no dispute that Perez

 refused to so testify, causing the Government to dismiss the

 Second Superseding Indictment on November 6, 2006, with respect

 to Gouveia and Matthew Hernandez.           See Order for Dismissal, Cr.

 No. 06-00420 DAE, ECF No. 85.

             On December 30, 2008, Gouveia was indicted in the

 present case, along with Ramiro Hernandez.               See Indictment, ECF

 No. 17.    After a five-day jury trial and six-days of jury

 deliberation, the jury convicted Gouveia of each count alleged in

 the Indictment.     The jury was hung with respect to Ramiro

 Hernandez.    See Verdict, ECF No. 174.         Ramiro Hernandez was

 retried.    Jose Perez was called as a Government witness during

 the retrial, but refused to testify notwithstanding a court order

 to do so.    Ramiro Hernandez was convicted of each count on

 February 2, 2012.       See Verdict, ECF No. 397.

             On February 9, 2011, Gouveia appealed his conviction

 and sentence.     See ECF No. 232.      The Ninth Circuit affirmed in a

 Memorandum Decision filed on February 23, 2012.              See ECF No. 484-

 1.   The Mandate issued on March 16, 2012.           See ECF No. 415.

 Gouveia filed a petition for certiorari, which was denied by the


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 Supreme Court on October 1, 2012.           See 133 S. Ct. 188 (Oct. 1,

 2012).    Although Gouveia wanted his counsel to seek

 reconsideration of the Ninth Circuit order based on a factual

 inaccuracy pertaining to what had been told to Perez before he

 phoned Ramiro Hernandez, Gouveia’s counsel mistakenly failed to

 seek reconsideration.      Counsel petitioned the court for a recall

 of the mandate and for leave to file a belated motion for

 rehearing.    See Petition to Recall Mandate and to File Petition

 for Panel Rehearing Late, No. 11-10064, ECF No. 472-3.               The Ninth

 Circuit denied that petition on April 6, 2012.

             On March 16, 2012, this court issued an Order to Show

 Cause Why Jose Perez Should Not be Held in Criminal Contempt for

 his failure to testify at the retrial of Ramiro Hernandez.                See

 Crim. No. 12-00250 SOM, ECF No. 2.           Perez pled guilty in that

 case to criminal contempt.       See Crim. No. 12-00250 SOM, ECF No.

 29.   He was sentenced to 120 days in prison.            See Judgment, Crim.

 No. 12-00250 SOM, ECF No. 38.

             As part of the present motion for relief under § 2255,

 Gouveia says that, in March 2013, he contacted Jose Perez at the

 Federal Detention Center in Honolulu.           Gouveia says that Perez

 indicated a willingness to testify that, at the time Perez placed

 the monitored calls to Ramiro Hernandez, Perez did not know that

 Government agents were recording them.           Perez allegedly said that

 he would not have agreed to make those calls had he known they


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 would be recorded.      Gouveia says that Perez is also willing to

 testify that Gouveia is innocent of the charges and played no

 role in the importing and distributing of the methamphetamine at

 issue in this case.      See Declaration of John Gouveia, Jr., ECF

 No. 472-5, PageID #s 5953-54.

             In a declaration dated July 11, 2014, Jose Perez

 states, contrary to Gouveia’s contention, that Perez “will not be

 a witness for either side . . . nor . . . sign a declaration for

 either side.”     He says, “I do not wish to have any further

 involvement in this case.”       Declaration of Jose Perez, ECF No.

 516-1, PageID # 7419.      This position is consistent with Perez’s

 refusals to testify in the earlier case against Gouveia and

 Matthew Hernandez and in the retrial of Ramiro Hernandez, even in

 the face of being held in contempt.          Neither Perez nor Gouveia is

 presently in the District of Hawaii, and this court determines

 that it would be futile to convene an evidentiary hearing in

 Gouveia’s § 2255 case in which Perez will assert the same kind of

 refusal to testify.

 III.        ANALYSIS.

             A federal prisoner may move to vacate, set aside, or

 correct his or her sentence if it “was imposed in violation of

 the Constitution or laws of the United States, . . . the court

 was without jurisdiction to impose such sentence, or . . . the

 sentence was in excess of the maximum authorized by law, or is

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 otherwise subject to collateral attack . . . .”             28 U.S.C.

 § 2255.    There are restrictions on what claims can and cannot be

 raised in a § 2255 petition.

             For example, a § 2255 petition cannot be based on a

 claim that has already been disposed of by the underlying

 criminal judgment and ensuing appeal.           As the Ninth Circuit

 stated in Olney v. United States, 433 F.2d 161, 162 (9th Cir.

 1970), “Having raised this point unsuccessfully on direct appeal,

 appellant cannot now seek to relitigate it as part of a petition

 under § 2255.”

             When a § 2255 petitioner has not raised an alleged

 error at trial or on direct appeal, the petitioner is

 procedurally barred from raising the issue in a § 2255 petition

 if it could have been raised earlier, unless the petitioner can

 demonstrate both “cause” for the delay and “prejudice” resulting

 from the alleged error.      As the Court said in United States v.

 Frady, 456 U.S. 152, 167-68 (1982), “[T]o obtain collateral

 relief based on trial errors to which no contemporaneous

 objection was made, a convicted defendant must show both

 (1) ‘cause’ excusing his double procedural default, and

 (2) ‘actual prejudice’ resulting from the errors of which he

 complains.”    Id.; accord Davis v. United States, 411 U.S. 233,



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 242 (1973).      To show “actual prejudice,” a § 2255 petitioner

 “must shoulder the burden of showing, not merely that the errors

 at his trial created a possibility of prejudice, but that they

 worked to his actual and substantial disadvantage, infecting his

 entire trial with error of constitutional dimensions.”               Frady,

 456 U.S. at 170.

             A.     Appellate Counsel Was Not Ineffective in Failing
                    to Timely Seek Reconsideration of the Ninth
                    Circuit Order.

             The Ninth Circuit affirmed Gouveia’s conviction and

 sentence in a memorandum decision of February 23, 2012.               See ECF

 No. 484-1.    In that decision, the Ninth Circuit stated:

             The agent’s testimony about the instructions
             he gave Perez did not violate Gouveia’s right
             to confrontation because these statements did
             not indicate to the jury that Perez had made
             incriminating statements about Gouveia.
             Unlike the agent’s testimony in the case of
             United States v. Gomez, 617 F.3d 88, 91-92
             (2d Cir. 2010), there was no indication that
             Perez was asked to call or discuss his co-
             conspirators, buyers, or suppliers.
             Furthermore, there were other reasonable
             explanations for the agent’s interest in
             extracting information about Gouveia from
             Hernandez. In addition, unlike Gomez, the
             agent’s instructions were necessary for the
             jury to understand the meaning of code words
             used by Perez and Hernandez during the
             recorded calls.

 ECF No. 484-1, PageID #s 6063-64 (emphasis added).              But the

 record indicates that Jones had told Perez to call Ramiro

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 Hernandez and “advise him that he had given the drugs to

 Gouveia.”    Jones Test. at 2-78, PageID #6853.

             Gouveia did not timely seek reconsideration, and

 instead sought to have the mandate that issued recalled so that

 such a motion could be filed.          See ECF No. 472-3.      That petition

 was denied.    Gouveia’s first argument in his § 2255 motion is

 that his appellate counsel was ineffective in failing to timely

 seek reconsideration of the Ninth Circuit order.              While counsel

 admits that he missed a deadline, this court is unpersuaded that

 this amounted to ineffective assistance warranting relief under

 § 2255.

             To establish ineffective assistance of counsel, Gouveia

 must show that (1) his counsel’s performance was deficient, and

 (2) the deficient performance prejudiced his defense.               Strickland

 v. Washington, 466 U.S. 668, 687 (1984).            There is “a strong

 presumption” that counsel’s conduct was reasonable and that

 counsel’s representation did not fall below “an objective

 standard of reasonableness” under “prevailing professional

 norms.”    Id. at 688.    Even if a petitioner can overcome the

 presumption of effectiveness, the petitioner must still

 demonstrate a “reasonable probability that, but for counsel’s

 unprofessional errors, the result of the proceeding would have



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 been different.”        Id. at 694.     Because “[i]t is all too tempting

 for a defendant to second-guess counsel’s assistance after

 conviction,” judicial scrutiny of counsel’s performance is highly

 deferential.     Id. at 689.

             Even assuming that Gouveia’s appellate counsel’s

 representation fell below an objective standard of

 reasonableness, Gouveia fails to establish prejudice.                Gouveia

 says, “Had counsel filed a timely petition . . . , the Court

 would have rendered a different result.”             ECF No. 472, PageID

 # 5921.    However, the record gives no indication that the Ninth

 Circuit would have reversed Gouveia’s conviction, reduced his

 sentence, or otherwise mitigated Gouveia’s circumstances if the

 rehearing motion had been timely filed.            To the contrary, the

 paragraph of the Ninth Circuit order that Gouveia complains about

 contains numerous reasons as to why Gouveia’s confrontation

 rights were not violated.        Accordingly, it is highly unlikely

 that the Ninth Circuit would have found that his confrontation

 rights were violated had it correctly noted that Special Agent

 Jones had told Perez to call Ramiro Hernandez and to tell Ramiro

 Hernandez that the drugs had been given to Gouveia.

             Although Jones instructed Perez to tell Ramiro

 Hernandez that the drugs had been given to Gouveia, Perez told



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 Ramiro Hernandez that the drugs had been given to “him.”               Because

 Gouveia’s name was not part of the taped recordings, it cannot be

 said that Gouveia’s confrontation rights were violated,

 especially in light of the other reasons the Ninth Circuit

 rejected the confrontation right claims.

             Moreover, the taped recordings provided little going to

 the issue of whether Gouveia was guilty or not guilty.               Even

 without the recordings, there was overwhelming evidence of

 Gouveia’s involvement with the methamphetamine shipments.               In

 July 2006, the Government found methamphetamine in the draftshaft

 of a Mercury Grand Marquis that had been shipped to Honolulu from

 California.    The Government removed the drugs and the driveshaft

 and installed a different driveshaft.           The Government then

 returned the car to Matson and waited for it to be picked up.

             The car was ultimately picked up, and agents proceeded

 to watch the car.       Eventually, they saw Perez and Gouveia arrive

 in a Dodge Durango that drove up to the Mercury Grand Marquis,

 which was parked off of Sand Island Access Road.              Perez got out

 of the Durango and into the Mercury Grand Marquis.              Perez and

 Gouveia then separately drove the cars to the Pearlridge Shopping

 Center.




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             There, Perez parked the Mercury Grand Marquis with two

 of its wheels on top of the concrete bumper in the stall.               This

 made it easier to get under the car.          Agents saw both Perez and

 Gouveia under the car.      By the time agents “moved in” to confront

 Gouveia and Perez, Gouveia was under the car but Perez was next

 to it.    Gouveia came out from under the car holding a socket

 wrench.    Agents found three bolts from the car when agents looked

 under the car.     Inside the Durango, agents found a socket wrench

 set that was missing the socket wrench corresponding to the one

 Gouveia was holding.

             Agents also found a receipt for a pipe cutter and a

 cutting wheel big enough to cut the driveshaft of the car.                The

 receipt had the name “John” written on it, as well as the phone

 number of a telephone found in the Durango that Gouveia had

 driven.

             When asked what he was doing, Gouveia told the agents

 that he was helping a friend fix his car.            Gouveia claimed to

 have met Perez for the first time that day at the shopping

 center.     He also seemed surprised when asked why he had not

 fixed the car before driving it to Pearlridge Shopping Center.

             There were numerous telephone calls between the prepaid

 cellular telephone found on Perez and the phone found in the



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 Durango driven by Gouveia.       The retail manager of AT&T Mobility

 testified that two of the prepaid phones found in the Durango

 were registered to men named “John” with different last names.

             Although the recorded telephone calls between Perez and

 Ramiro Hernandez did not address or mention the earlier March

 2006 methamphetamine shipment, agents had located in a Hilo

 storage unit a Mercury Grand Marquis shipped at that earlier time

 that had been rented by Perez.         This car, shipped by the same

 person who shipped the one in July 2006, was missing its

 driveshaft.    Gouveia stipulated that, at the time the car arrived

 in Hilo in March 2006, he was in Hilo and that, at the time the

 car arrived in Honolulu in July 2006, he was in Honolulu.

             The above evidence was sufficient to support the jury’s

 determination that Gouveia was guilty.           Because Gouveia fails to

 establish on the present record any possibility that the decision

 of the Ninth Circuit would have been different had his appellate

 counsel timely filed a petition to reconsider the order based on

 the mistaken perception that Jones had not told Perez to call

 Ramiro Hernandez and to tell Ramiro Hernandez that the drugs had

 been delivered to Gouveia, Gouveia fails to establish ineffective

 assistance of counsel.




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             B.    Trial Counsel Was Not Ineffective in Failing to
                   Seek Suppression of the Taped Phone Calls.

             Gouveia next argues that trial counsel was ineffective

 in failing to file a motion to suppress the tapes of the three

 phone calls from Perez to Ramiro Hernandez.              Gouveia contends

 that, under 18 U.S.C. § 2511(2)(c), the Government was authorized

 to tape the calls only if one of the parties consented to the

 taping.    That section states, “It shall not be unlawful under

 this chapter for a person acting under color of law to intercept

 a wire, oral, or electronic communication, where such person is a

 party to the communication or one of the parties to the

 communication has given prior consent to such interception.”

             Gouveia says that Perez is willing to testify that he

 did not know the Government was taping the calls.              Perez, on the

 other hand, has submitted a declaration that indicates that he is

 unwilling to testify in this case.          See ECF No. 516-1.       Even if

 Gouveia did, as he claims, get a prior agreement from Perez to

 testify in this § 2555 proceeding, this court has nothing

 indicating that Perez now will testify.           Given the two criminal

 cases in which Perez did not testify, and Perez’s acceptance of a

 prison term for criminal contempt as a result of the second

 failure, this court is not surprised.           This leaves Gouveia with

 no evidence before this court establishing the factual predicate

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 for his assertion.        This court therefore determines that

 Gouveia’s trial counsel cannot be said to have been ineffective

 in failing to seek suppression of the recordings on the ground

 that Perez did not consent to the taping.             Nothing in the record

 suggests that trial counsel could have presented evidence

 supporting suppression on that ground.

             Even if this court determined that Gouveia’s trial

 counsel’s representation fell below the level of objective

 standard of reasonableness, Gouveia has not demonstrated that he

 would have been prejudiced.        As noted above, the overwhelming

 evidence at trial demonstrated his guilt, and the phone calls

 Gouveia says should have been suppressed had little impact on the

 result of the trial with respect to him.

             C.    Gouveia Has Procedurally Defaulted on His Claims
                   that the Government Violated His Due Process
                   Rights by Failing to Provide Exculpatory Evidence
                   and By Allowing Agent Jones to Provide Allegedly
                   False Testimony to the Jury.

             Gouveia’s third argument is that the Government

 violated his Due Process rights by failing to turn over

 exculpatory evidence and by allowing Special Agent Jones to

 testify falsely.        Gouveia has procedurally defaulted on these

 claims.




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             Gouveia claims that the Government failed to provide

 him with exculpatory evidence, including 1) the California

 Sheriff’s Department’s reports regarding a tip, 2) reports by the

 individuals who were present when the driveshaft was opened,

 3) reports prepared by Pearlridge Shopping Center security

 guards, 4) reports by all agents present when Gouveia was

 arrested, 5) surveillance camera footage from Pearlridge Shopping

 Center, and 6) the identity of any person whose fingerprints were

 on the driveshaft, bolts, and socket wrench.             Gouveia certainly

 could have and should have known at trial and at the time of his

 appeal that he did not have this information, even assuming that

 the Government had the enumerated items of evidence, that the

 items were exculpatory, and that the items were not turned over.1

 Gouveia fails to demonstrate “cause” as to why he did not raise

 this argument earlier.      See Frady, 456 U.S. at 167-68.

 Accordingly, he has procedurally defaulted on these arguments.

             Gouveia has similarly procedurally defaulted on his

 argument that his Due Process rights were violated when Special

 Agent Jones allegedly testified falsely as to 1) drilling a hole

 in the driveshaft and having methamphetamine fall out, and



       1
      The record does not establish that the Government even had,
 among other things, fingerprints from the driveshaft, bolts, and
 socket wrench of anyone the Government could identify.

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 2) Gouveia’s presence under the Mercury Grand Marquis and his

 holding of a socket wrench when he emerged from under the car.

 At the time Special Agent Jones testified, Gouveia knew whether

 the statements were true or not.             Accordingly, he fails to show

 “cause” for his failure to raise the alleged constitutional

 violation at trial and on appeal.            He has procedurally defaulted

 on this claim.     Id.

             D.    Gouveia Has Not Established that He is Actually
                   Innocent.

             In Gouveia’s fourth and final argument, he claims that

 he is actually innocent.        In support, he says that Perez is

 willing to testify as to his innocence.            As discussed above,

 Perez is unwilling to testify in this matter.              This unwillingness

 is consistent with Perez’s earlier positions.              Accordingly,

 Gouveia fails to establish the factual predicate for his claim

 that he is actually innocent.

             E.    The Court Declines to Appoint Counsel.

             In his Reply, Gouveia requests appointment of counsel

 to pursue this § 2255 motion.           That request is denied.

             Under 18 U.S.C. § 3006A(a)(2), counsel may be appointed

 for an impoverished habeas petitioner whenever the court

 determines that the “interests of justice so require.”                Such

 appointment of counsel becomes mandatory when an evidentiary

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 hearing is required.      Bashor v. Risley, 730 F.2d 1228, 1233 (9th

 Cir. 1984).      As discussed below, an evidentiary hearing is not

 required for this motion.

             The court exercises its discretion in declining to

 appoint counsel under the circumstances presented here, as the

 appointment of an attorney would not make a difference in the

 result.    Even if appointed, habeas counsel could not demonstrate

 prejudice for purposes of his ineffective assistance of appellate

 counsel claim.      Gouveia fails to offer evidence to support his

 claims relating to actual innocence and the alleged absence of

 consent by Perez to the taping of calls, and no attorney could

 make a better case for Gouveia absent testimony by Perez in this

 matter.    To the extent Gouveia seeks to assert Due Process claims

 that he has procedurally defaulted on, no attorney could undo the

 default.

             F.     The Court Decides This Matter Without a Hearing.

             The court denies Gouveia’s § 2255 motion without

 holding an evidentiary hearing, as the record before the court

 conclusively demonstrates that Gouveia is not entitled to § 2255

 relief.    See 28 U.S.C. § 2255(b) (hearing required “[u]nless the

 motion and the files and records of the case conclusively show

 that the prisoner is entitled to no relief”).



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             G.    The Court Declines to Issue a Certificate of
                   Appealability.

             The court declines to grant Gouveia a certificate of

 appealability.     An appeal may not be taken to the court of

 appeals from a final order in a § 2255 proceeding “[u]nless a

 circuit justice or judge issues a certificate of appealability.”

 28 U.S.C. § 2253(c)(1)(B).       The court shall issue a certificate

 of appealability “only if the applicant has made a substantial

 showing of the denial of a constitutional right.”              28 U.S.C.

 § 2253(c)(2).     When a district court denies a § 2255 petition on

 the merits, a petitioner, to satisfy the requirements of

 § 2253(c)(2), “must demonstrate that reasonable jurists would

 find the district court’s assessment of the constitutional claims

 debatable or wrong.”      Slack v. McDaniel, 529 U.S. 473, 484

 (2000).    When, however,

             the district court denies a habeas petition
             on procedural grounds without reaching the
             prisoner’s underlying constitutional claim, a
             [certificate of appealability] should issue
             when the prisoner shows . . . that jurists of
             reason would find it debatable whether the
             petition states a valid claim of the denial
             of a constitutional right and that jurists of
             reason would find it debatable whether the
             district court was correct in its procedural
             ruling.

 Id.




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             No reasonable jurist would find this court’s assessment

 of the merits of Gouveia’s constitutional claims debatable or

 wrong.    Nor would any reasonable jurist determine that the

 various procedural grounds for denying Gouveia’s § 2255 petition

 are debatable.

 IV.         Gouveia is Not Entitled to DNA Testing of the
             Driveshaft, Bolts, and Socket Wrench.

             Under 18 U.S.C. § 3600(a), this court may order DNA

 testing of evidence when all of the requirements in subsections

 (a)(1) to (a)(10) are satisfied.            That subsection states:

             Upon a written motion by an individual under
             a sentence of imprisonment or death pursuant
             to a conviction for a Federal offense
             (referred to in this section as the
             “applicant”), the court that entered the
             judgment of conviction shall order DNA
             testing of specific evidence if the court
             finds that all of the following apply:

             (1) The applicant asserts, under penalty of
             perjury, that the applicant is actually
             innocent of--

                  (A) the Federal offense for which the
             applicant is under a sentence of imprisonment
             or death; or

                    (B) another Federal or State offense,
             if--

                       (i) evidence of such offense was
             admitted during a Federal death sentencing
             hearing and exoneration of such offense would
             entitle the applicant to a reduced sentence
             or new sentencing hearing; and

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                         (ii) in the case of a State
             offense--

                            (I) the applicant demonstrates
             that there is no adequate remedy under State
             law to permit DNA testing of the specified
             evidence relating to the State offense; and

                            (II) to the extent available,
             the applicant has exhausted all remedies
             available under State law for requesting DNA
             testing of specified evidence relating to the
             State offense.

             (2) The specific evidence to be tested was
             secured in relation to the investigation or
             prosecution of the Federal or State offense
             referenced in the applicant’s assertion under
             paragraph (1).

             (3) The specific evidence to be tested--

                  (A) was not previously subjected to DNA
             testing and the applicant did not–

                       (i) knowingly and voluntarily waive
             the right to request DNA testing of that
             evidence in a court proceeding after the date
             of enactment of the Innocence Protection Act
             of 2004; or

                       (ii) knowingly fail to request DNA
             testing of that evidence in a prior motion
             for postconviction DNA testing; or

                  (B) was previously subjected to DNA
             testing and the applicant is requesting DNA
             testing using a new method or technology that
             is substantially more probative than the
             prior DNA testing.

             (4) The specific evidence to be tested is in
             the possession of the Government and has been

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             subject to a chain of custody and retained
             under conditions sufficient to ensure that
             such evidence has not been substituted,
             contaminated, tampered with, replaced, or
             altered in any respect material to the
             proposed DNA testing.

             (5) The proposed DNA testing is reasonable in
             scope, uses scientifically sound methods, and
             is consistent with accepted forensic
             practices.

             (6) The applicant identifies a theory of
             defense that--

                  (A) is not inconsistent with an
             affirmative defense presented at trial; and

                  (B) would establish the actual innocence
             of the applicant of the Federal or State
             offense referenced in the applicant's
             assertion under paragraph (1).

             (7) If the applicant was convicted following
             a trial, the identity of the perpetrator was
             at issue in the trial.

             (8) The proposed DNA testing of the specific
             evidence may produce new material evidence
             that would--

                  (A) support the theory of defense
             referenced in paragraph (6); and

                  (B) raise a reasonable probability that
             the applicant did not commit the offense.

             (9) The applicant certifies that the
             applicant will provide a DNA sample for
             purposes of comparison.

             (10) The motion is made in a timely fashion,
             subject to the following conditions:



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                  (A) There shall be a rebuttable
             presumption of timeliness if the motion is
             made within 60 months of enactment of the
             Justice For All Act of 2004 or within 36
             months of conviction, whichever comes later.
             Such presumption may be rebutted upon a
             showing--

                       (i) that the applicant's motion for
             a DNA test is based solely upon information
             used in a previously denied motion; or

                       (ii) of clear and convincing
             evidence that the applicant's filing is done
             solely to cause delay or harass.

                  (B) There shall be a rebuttable
             presumption against timeliness for any motion
             not satisfying subparagraph (A) above. Such
             presumption may be rebutted upon the court's
             finding--

                       (i) that the applicant was or is
             incompetent and such incompetence
             substantially contributed to the delay in the
             applicant’s motion for a DNA test;

                       (ii) the evidence to be tested is
             newly discovered DNA evidence;

                       (iii) that the applicant’s motion
             is not based solely upon the applicant's own
             assertion of innocence and, after considering
             all relevant facts and circumstances
             surrounding the motion, a denial would result
             in a manifest injustice; or

                         (iv) upon good cause shown.

                   (C) For purposes of this paragraph--

                       (i) the term “incompetence” has the
             meaning as defined in section 4241 of title
             18, United States Code;

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                       (ii) the term “manifest” means that
             which is unmistakable, clear, plain, or
             indisputable and requires that the opposite
             conclusion be clearly evident.

             Gouveia does not satisfy all ten subsections.              For

 example, despite his assertion to the contrary, Gouveia does not

 show, under § 3600(a)(6), that the evidence would establish his

 actual innocence.        Nor does Gouveia show under § 3600(a)(7) that

 the identity of the perpetrator was in issue at trial.                Gouveia

 does not claim, for example, that, when agents moved in to arrest

 the men at the Pearlridge Shopping Center who were “working on

 the car,” he was not present.

             Even if the court assumes that DNA evidence would

 establish that it was Perez, not Gouveia, under the car holding

 the socket wrench, that evidence would not “raise a reasonable

 probability that the applicant did not commit the offense.”                  See

 18 U.S.C. § 3600(a)(8)(A).        There was still evidence that Gouveia

 was present when the attempt was made to remove the drugs from

 the car.    Agents saw both Gouveia and Perez under the car.

 Gouveia told the agents that he first met Perez at the shopping

 center, but he was seen with Perez earlier.               Nor does he explain

 why he did not attempt to fix the car before driving it to the

 shopping center.        The receipt for the pipe cutter and cutting



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 wheel that could have been used to cut the driveshaft had his

 first name on it and a phone number for a phone that was in the

 Durango Gouveia drove.      There were also many phone calls between

 phones Perez had and the phones that were in the Durango that he

 was driving.     Under these circumstances, it cannot be said that

 the requested DNA evidence would have changed the result of the

 trial.

             Accordingly, the court denies Gouveia’s request for DNA

 testing of the driveshaft, the bolts, and the socket wrench.

 III.        CONCLUSION.

             For the foregoing reasons, Gouveia’s § 2255 Petition

 and his request for DNA testing are denied.

             If Gouveia believes that this court has inadvertently

 failed to address a ground for relief raised in his Petition, he

 is asked to so notify the court by August 11, 2014, including in

 any such notification (1) a description of no more than 25 words

 of each such issue, (2) the title of the document in which the

 issue was raised, (3) the date the document was filed, and

 (4) the page(s) of the document on which the issue was raised.

 This notification shall not include anything other than the

 preceding information and is not intended to be a substitute for




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 any other motion or other filing.           No court deadline is affected

 by this request for notification.

             In case Gouveia does file such a notification, the

 Clerk of Court is directed not to enter judgment at this time.

 However, the Clerk of Court is directed to automatically enter

 judgment against Gouveia if the court receives no such

 notification by August 25, 2014.


             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, July 28, 2014.




                                      /s/ Susan Oki Mollway
                                     Susan Oki Mollway
                                     Chief United States District Judge




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 DENYING PETITION UNDER 28 U.S.C. § 2255; ORDER DENYING REQUEST FOR DNA TESTING
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